13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 1 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 2 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 3 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 4 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 5 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 6 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 7 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 8 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 9 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 10 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 11 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 12 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 13 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 14 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 15 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 16 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 17 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 18 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 19 of 20
13-12409-scc   Doc 3   Filed 07/25/13    Entered 07/25/13 15:55:14   Main Document
                                        Pg 20 of 20
